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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

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MALIBU MEDIA, LLC,                             Hon. William J. Martini, U.S.D.J.

                                    Plaintiff, Case No. 2:17-cv-01321-WJM-MF

                    vs.                                       CIVIL ACTION

TIM McMANUS and GREENWOOD                              Document Filed Electronically
DIGITAL, LLC,

                                 Defendants.




DEFENDANTS’ BRIEF IN REPLY TO PLAINTIFF’S OPPOSITION TO
                ORDER TO SHOW CAUSE




LESLIE A. FARBER, ESQ.
      On the Brief


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          PLAINTIFF’S COMPLAINT AND DEFENDANTS’ COUNTERCLAIM SHOULD
          NOT BE DISMISSED BECAUSE DEFENDANTS’ ABUSE OF PROCESS
          COUNTERCLAIM IS SEPARATE AND DISTINCT FROM PLAINTIFF’S
          COMPLAINT, AND BECAUSE DEFENDANTS HAVE SUFFERED HARM AND
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                                   STATEMENT OF FACTS

       Defendants adopt the Court’s recitation of facts in its Order to Show Cause entered

April 11, 2019 (ECF No. 57) and add the following:

       Nearly one (1) year ago, on behalf of defendant Tim McManus, defense counsel sent

plaintiff’s counsel a discovery deficiency letter which mentioned several lacking or deficient

responses that otherwise would help Mr. McManus defend against plaintiff’s allegations, and

prove his affirmative defenses and counterclaim. See Letter dated June 6, 2018 (hereinafter

“Exhibit A”). No response.

       After plaintiff amended its Complaint to add Greenwood Digital LLC as a defendant,

defendants sent plaintiff additional discovery requests on December 18, 2018, specifically

pertaining to that defendant. See Greenwood Digital Interrogatories and Notice to Produce

Documents (hereafter “Exhibit B”). Although there is some overlap of the discovery defendants

seek in order to defend against plaintiff’s allegations with the discovery sought to prosecute

defendants’ Counterclaim, the information and documents defendants seek from plaintiff are

necessary to prove defendant’s Counterclaim for abuse of process. See Declaration of Leslie A.

Farber, Esq., annexed hereto. Plaintiff has not responded to Greenwood Digital’s discovery

requests. One of the reasons for hese discovery requests is to show that plaintiff never had a

good faith belief it would prevail in its claims against either defendant and because it may never

have had documents and things defendants seek without which plaintiff could not prove its case.

       At the conclusion of recent in-person and telephone conferences with Magistrate Judge

Falk, just before defense counsel left for vacation in mid-March 2019, followed by plaintiff

counsel’s vacation, both counsel were to call the Court to work out a revised discovery schedule,

which included defendants seeking to compel existing and additional discovery responses from



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plaintiff, along with depositions. See Farber Certif. Instead, plaintiff filed its instant motion to

dismiss its complaint and defendants’ counterclaim. Defendants have not consented to the

dismissal of any claims in this case.

       Defendants have suffered financial harm by having to expend substantial sums for

counsel fees to defend against the allegations in plaintiff’s Complaint and in pursuit of their

Counterclaim. In addition, by the mere existence of plaintiff’s lawsuit against defendant Tim

McManus, Mr. McManus’s reputation and ability to secure business have been negatively

affected. He states in his Certification that one of his students at Fordham University alerted him

that a Google search of the phrase “Tim McManus Greenwood Digital” returns a link to Malibu

Media’s false accusations against him, and that it is a challenge explaining to students that he did

not download the titles outlined in plaintiff’s Complaint, and that plaintiff’s accusations have

harmed his reputation since he cannot say (yet) that he won a favorable judgement in the case.

See Certification of Tim McManus. In addition, Mr. McManus’ company Greenwood Digital,

LLC (the other defendant in the case), works with enterprise and government data, that any

question regarding Greenwood Digital’s handling of data has significant and lasting impact on

the company’s and Mr. McManus’ personal reputation, and that plaintiff's accusations and this

case bring into question Greenwood Digital’s handling of plaintiff’s copyrighted materials,

which are data. Id.

       Mr. McManus further states that he and Greenwood Digital are fighting this case on its

merits in order to seek a favorable judgement from the Court, that such a judgement would

validate that Greenwood Digital and he did not infringe on plaintiff’s copyrighted material

(data), and that Malibu Media erred in bringing litigation against both.




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       Notably, earlier in this case, plaintiff took the position that “a corporate entity itself does

not commit copyright infringement,” which is why it initially named Tim McManus in its

Complaint and not Greenwood Digital. See Plaintiff’s Reply in Support of Plaintiff’s initial

Motion to Dismiss both of Tim McManus’ Counterclaims (ECF No. 28 at 15-16). But plaintiff

amended its Complaint to add the corporate entity Greenwood Digital LLC as a defendant

anyway.




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                                      LEGAL ARGUMENT

       PLAINTIFF’S COMPLAINT AND DEFENDANTS’ COUNTERCLAIM
       SHOULD NOT BE DISMISSED BECAUSE DEFENDANTS’ ABUSE OF
       PROCESS COUNTERCLAIM IS SEPARATE AND DISTINCT FROM
       PLAINTIFF’S COMPLAINT, AND BECAUSE DEFENDANTS HAVE
       SUFFERED HARM AND WOULD BE PREJUDICED BY DISMISSAL OF
       ANY CLAIMS. FED. R. CIV. P. 41.


       Plaintiff’s motion is based on the false premise that merely dismissing plaintiff’s

complaint means there is no legal harm or prejudice to defendants, and that dismissing plaintiff’s

claims against defendants renders defendants’ Counterclaim for abuse of process to be moot.

Nothing could be further from the truth. As plaintiff is well aware, in the parties’ last conference

with the Court before defense counsel left for vacation, followed by plaintiff counsel’s vacation,

the parties were to call the Court to work out a revised discovery schedule, which included

defendants’ seeking discovery from plaintiff, some of which plaintiff said it would produce, but

later refused to produce (PCAP files). See Exhibit A.

       Defendants’ outstanding discovery demands and planned depositions are important to

proving their abuse of process counterclaim which, if successful, would result in a judgment

against plaintiff for more than just counsel fees, regardless of whether plaintiff’s claims against

defendants are active. Moreover, despite the knowing frivolity of plaintiff’s claims against these

defendants immediately after the case was filed, plaintiff’s brief makes the false allegations in its

Motion and response to the Court’s Order to Show Cause that “Defendants are sophisticated IT

professionals with the knowledge to hide infringing activity.” One of the reasons these

discovery requests are so important is to show that plaintiff never had a good faith belief it

would prevail in its claims against either defendant and because it may never have had

documents and things defendants seek without which plaintiff could not prove its case.



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       Defendants have been severely prejudiced by being forced to expend substantial sums of

money and time to defend against plaintiff’s claims and pursue their Counterclaims. In addition,

by the mere existence of plaintiff’s lawsuit against defendant Tim McManus, Mr. McManus’s

reputation and ability to secure business have been negatively affected. He states in his

Certification that one of his students at Fordham University alerted him that a Google search of

the phrase “Tim McManus Greenwood Digital” returns a link to Malibu Media’s false

accusations against him, and that it is a challenge explaining to students that he did not download

the titles outlined in plaintiff’s Complaint, and that plaintiff’s accusations have harmed his

reputation since he cannot say (yet) that he won a favorable judgement in the case. See

Certification of Tim McManus. In addition, Mr. McManus’ company Greenwood Digital, LLC

(the other defendant in the case), works with enterprise and government data, that any question

regarding Greenwood Digital’s handling of data has significant and lasting impact on the

company’s and Mr. McManus’ personal reputation, and that plaintiff's accusations and this case

bring into question Greenwood Digital’s handling of plaintiff’s copyrighted materials, which are

data. Id.

       Mr. McManus further states that he and Greenwood Digital are fighting this case on its

merits in order to seek a favorable judgement from the Court, that such a judgement would

validate that Greenwood Digital and he did not infringe on plaintiff’s copyrighted material

(data), and that Malibu Media erred in bringing litigation against both.

       Notably, earlier in this case, plaintiff took the position that “a corporate entity itself does

not commit copyright infringement,” which is why it initially named Tim McManus in its

Complaint and not Greenwood Digital. See Plaintiff’s Reply in Support of Plaintiff’s initial

Motion to Dismiss both of Tim McManus’ Counterclaims (ECF No. 28 at 15-16). But it



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amended its Complaint to add the corporate entity Greenwood Digital LLC as a defendant

anyway.

       Thus, it is likely that defendants need an adjudication of plaintiff’s claim on the merits,

especially where plaintiff’s brief continues to make accusations against defendants of hiding

infringing activity. Defendants also need discovery from plaintiff in order to bolster the already

known facts in the case in order to prove their Counterclaim for abuse of process.

       Accordingly, the Court should deny plaintiff’s Motion to Dismiss its Complaint and

defendants’ Counterclaim.




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                                       CONCLUSION

       The Court should deny plaintiff’s Motion to Dismiss its Complaint and defendants’

Counterclaim for all of the foregoing reasons and those contained in the Court’s Order to Show

Cause entered April 11, 2019 [ECF No. 57].

                                                   Respectfully submitted,
                                                   LESLIE A. FARBER, LLC

                                                   /s/ Leslie A. Farber
Dated: April 22, 2019                        By:   Leslie A. Farber
                                                   email: LFarber@LFarberLaw.com




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